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   Attorneys for Plaintiff,
11 Jodi Rothery
12
13                           UNITED STATES DISTRICT COURT
14                        SOUTHERN DISTRICT OF CALIFORNIA
15
16
     Jodi Rothery,                          Case No.: 3:17-cv-00565-DMS-AGS
17
                     Plaintiff,             NOTICE OF SETTLEMENT
18
19         vs.
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     Wells Fargo Bank, N.A,
21
22                   Defendant.
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28
                                                             NOTICE OF SETTLEMENT
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 1                             NOTICE OF SETTLEMENT
 2
           NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have
 3
 4 reached a settlement. The Plaintiff anticipates filing a notice of withdrawal of
 5 Complaint and voluntary dismissal of this action with prejudice pursuant to Fed. R.
 6
   Civ. P. 41(a) within 60 days.
 7
 8       The parties hereby further request that this honorable Court provide a period of
 9 60 days within which to complete the settlement and file a dismissal of the action.
10
11
12                                             By: /s/ Trinette G. Kent
                                               Trinette G. Kent, Esq.
13                                             Lemberg Law, LLC
14                                             Attorney for Plaintiff, Jodi Rothery
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                                                                      NOTICE OF SETTLEMENT
Case 3:17-cv-00565-DMS-AGS Document 9 Filed 09/12/17 PageID.29 Page 3 of 4



 1                                 CERTIFICATE OF SERVICE
 2
           I, the undersigned, certify and declare that I am over the age of 18 years, and
 3
 4 not a party to the above-entitled cause. On September 12, 2017, I served a true copy
 5 of foregoing document(s): NOTICE OF SETTLEMENT.
 6
 7 BY ELECTRONIC FILING: I hereby                Attorney for Defendant Wells Fargo
 8 certify that on September 12, 2017, a         Bank, N.A.
   copy of the foregoing document was filed
 9 electronically. Notice of this filing will be
10 sent by operation of the Court's electronic
   filing system to all parties indicated on
11 the electronic filing receipt. All other
12 parties will be served by regular U.S.
   Mail. Parties may access this filing
13 through the Court's electronic filing
14 system.
15         I am readily familiar with the firm's practice of collection and processing
16
     correspondence for mailing. Under that practice it would be deposited with the U.S.
17
18 Postal Service on that same day with postage thereon fully prepaid in the ordinary
19 course of business. I am aware that on motion of the party served, service is presumed
20
   invalid if postal cancellation date or postage meter date is more than one day after the
21
22 date of deposit for mailing in affidavit.
23         I hereby certify that I am employed in the office of a member of the Bar of this
24
     Court at whose direction the service was made.
25
26         Executed on September 12, 2017.
27
28
                                                3
                                                                       NOTICE OF SETTLEMENT
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 2                                       By: /s/ Trinette G. Kent
                                         Trinette G. Kent, Esq.
 3                                       Lemberg Law, LLC
 4                                       Attorney for Plaintiff, Jodi Rothery

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